Case 2:03-mc-00027-SHM-dkv Document 4 Filed 10/16/03 Pagelof2 PagelD1

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IN THE UNITED STATES DISTRICT COURT NG
FOR THE WESTERN DISTRICT OF TENNESSFE on oo.
WESTERN DIVISION JOOET PG MS Sy

 

 

UNITED STATES SECURITIES & We Fa
EXCHANGE COMMISSION,

Plaintiff,
Vs. NO. O03mc027-Ma/V

DAVIS A. SWICK, TODD J. COHEN,
and TERRENCE J. O’DONNEL,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is the October 9, 2003, motion filed by
Vining Sparks IBG, LP, to quash and objections to subpoena in
this matter.

The motion is hereby referred to the magistrate judge for a
determination. Any exceptions to the magistrate’s report shall
be made within ten (10) days of the report, setting forth
particularly those portions of the order excepted to and the
reasons for the exceptions.

It is so ORDERED this 1S day of October, 2003.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:03-MC-00027 was distributed by fax, mail, or direct printing on
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Diane Vescovo

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Memphis, TN 38103

Honorable Samuel Mays
US DISTRICT COURT
